           Case 5:20-cv-00112-JMG Document 69 Filed 05/06/22 Page 1 of 2




                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

SCOTT MAINS, et al.,                      :
                  Plaintiffs,             :
                                          :
                  v.                      :                   Civil No. 5:20-cv-00112-JMG
                                          :
THE SHERWIN-WILLIAMS COMPANY,             :
d/b/a THE THOMPSON’S COMPANY,             :
                  Defendant.              :
__________________________________________

                                             ORDER
      AND NOW, this 6th day of May, 2022, upon consideration of Defendant’s Motion for

Sanctions (ECF No. 62), Plaintiffs’ Response (ECF No. 63), Defendant’s Reply (ECF No. 67),

and for the reasons provided in the accompanying Memorandum Opinion, IT IS HEREBY

ORDERED that Defendant’s Motion (ECF No. 62) is GRANTED in part as follows:

      1.       Discovery in this matter concerning issues related to product composition is

               HEREBY CLOSED.

      2.       Within twenty (20) days of this Order, Sherwin-Williams SHALL SUBMIT to the

               Court evidence to assess the reasonable fees and costs associated with bringing this

               matter to the Court’s attention. Plaintiffs and their counsel shall file their response

               in opposition (limited to the question of reasonableness only) within ten (10) days

               of Sherwin-Williams’ submission.

      3.       Moving forward, Plaintiffs’ counsel SHALL SUBMIT all future court filings to

               Defendant’s counsel one day before such papers are filed to ensure there are no

               future violations of the confidentiality and protective order.
     Case 5:20-cv-00112-JMG Document 69 Filed 05/06/22 Page 2 of 2




4.       Any future violation of the confidentiality and protective order on the part of

         Plaintiffs or their counsel SHALL result in the immediate dismissal of this case

         WITH PREJUDICE.

                                      BY THE COURT:


                                      /s/ John M. Gallagher
                                      JOHN M. GALLAGHER
                                      United States District Court Judge




                                         2
